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UNITED STATES DISTRICT COURT                                                DOC #:
SOUTHERN DISTRICT OF NEW YORK                                               DATE FILED: 1/12/2021
 GUIDEHOUSE LLP,

                            Plaintiff,                             1:19-cv-09470-MKV
                       -against-
                                                                  POST-CONFERENCE
 RIZWAN SHAH,                                                    SCHEDULING ORDER

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       The Court held a telephonic Post-Discovery Conference on January 12, 2021. Counsel for

all parties were in attendance. In advance of the conference, Plaintiff filed (1) a letter requesting

leave to move for summary judgment [ECF No. 25]; (2) a letter requesting leave to file a redacted

draft Local Rule 56.1 Statement [ECF No. 26]; (3) a redacted draft Local Rule 56.1 Statement

[ECF No. 27]; and (4) an unredacted draft Local Rule 56.1 Statement under seal [ECF No. 28].

       In accordance with matters discussed at the Conference, IT IS HEREBY ORDERED:

           •   Plaintiff’s letter motion to file a redacted draft Local Rule 56.1 Statement [ECF No.

               26] is GRANTED. The unredacted Local Rule 56.1 Statement [ECF No. 28] shall

               remain under seal.

           •   Plaintiff’s request for leave to move for summary judgment is DENIED. Having

               reviewed carefully Plaintiff’s pre-motion submissions and heard from the parties at

               the conference, the Court finds that no good cause exists for varying from the

               Court’s Individual Practice Rules regarding summary judgment practice in this

               nonjury case. See Individual Practice Rules ¶5(A).
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          •   The parties shall appear for a final pretrial conference on February 23, 2021, at 1:00

              PM. The conference will be held telephonically. To join the conference, dial 888-

              278-0296 and enter access code 5195844.

          •   In preparation for the final pretrial conference, the parties shall file a joint letter on

              or before February 16, 2021, addressing the following matters:

                  o Dates the parties are unavailable in the first and second quarters of 2021;

                  o Anticipated length of trial;

                  o Proposed input on trial logistics, including direct testimony, deposition

                      testimony, and expert testimony; and

                  o An update on the status (not substance) of settlement discussions and

                      whether the parties request referral to the Southern District’s mediation

                      program or will retain a private mediator.

          •   The parties shall consult the Court’s Individual Rules of Practice in Civil Cases and

              ensure compliance therewith.

       Failure to comply with deadlines or other terms of this Order may result in sanctions,

including preclusion or dismissal of claims or defenses.

       The Clerk of Court is respectfully requested to terminate docket entries 25 and 26.



SO ORDERED.

                                                      _________________________________
Date: January 12, 2021                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




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